

People v Richards (2017 NY Slip Op 06608)





People v Richards


2017 NY Slip Op 06608


Decided on September 26, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2017

Sweeny, J.P., Renwick, Kapnick, Kern, Moulton, JJ.


3977/13 4483A 1575/14 4483

[*1] The People of the State of New York, Respondent,
vLouis Richards, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Hope Korenstein of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from judgments of the Supreme Court, New York County (Neil Ross, J.), rendered August 24, 2015,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
ENTERED: SEPTEMBER 26, 2017
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








